Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 1 of 21 PageID 190




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                           CASE NUMBER: 8:23-cv-01856-TPB-UAM

INTEGRRITY PAYMENTS
GROUP, LLC, a Wyoming
limited liability company,
        Plaintiff

v.

JACLYN WEBB, an individual,
JESSI LEE LORENZO, an individual,
and CAPRAE SOLUTIONS, LLC, a
Wyoming limited liability company
       Defendants.
______________________________________/

     DEFENDANT’S, JESSI LEE LORENZO, ANSWER AND AFFIRMATIVE DEFENSES
       TO INTEGRITY PAYMENTS GROUP, LLC’S VERIFIED COMPLAINT AND
                           DEMAND FOR JURY TRIAL

        COME NOW, Defendant, JESSI LEE LORENZO (herein “Ms. Lorenzo”), by and through

 her undersigned counsel, and answers Plaintiff’s Verified Complaint and Demand for Jury Trial by

 like numbered paragraphs as follows:

                                      Nature of the Action

        Defendant, Ms. Lorenzo, acknowledges that Plaintiff is seeking injunctive relief and

 damages for misappropriation of trade secrets pursuant to the Defend Trade Secrets Act, 18 U.S.C.

 §§ 1836 et seq. and the Florida Uniform Trade Secrets Act, Fla. Stat. §§ 688 et seq.; breach of

 contract; quantum meruit; breach of fiduciary duty; tortious interference; unfair competition; and

 violations of the Florida Computer Abuse and Data Recovery Act §§ 668.801 et seq., and the

 Computer Fraud and Abuse Act, 18 U.S.C. § 1030. However, Defendant denies misappropriation

 of trade secrets pursuant to the Defend Trade Secrets Act, 18 U.S.C. §§ 1836 et seq. and the Florida

 Uniform Trade Secrets Act, Fla. Stat. §§ 688 et seq; breach of contract; quantum meruit; breach

                                                 1
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 2 of 21 PageID 191



 of fiduciary duty; tortious interference; unfair competition; and violations of the Florida Computer

 Abuse and Data Recovery Act §§ 668.801 et seq., and the Computer Fraud and Abuse Act, 18

 U.S.C. § 1030. Defendant further denies Plaintiff (“Integrity”) is entitled to any damages from Ms.

 Lorenzo whatsoever. Accordingly, Defendant, Ms. Lorenzo asserts that this action is brought not in

 good faith and for the purpose of harassment of Ms. Lorenzo. Defendant, Ms. Lorenzo, has incurred

 damages due to the defense of this action, including but not limited to attorney’s fees and costs.

                                             Introduction

         1.     Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 1, and therefore denies same and demands strict proof thereof.

         2.     Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 2, and therefore denies same and demands strict proof thereof.

         3.     Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 3, and therefore denies same and demands strict proof thereof.


         4.     Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 4, and therefore denies same and demands strict proof thereof.
         5.     Denied.

         6.     Denied.

         7.     Denied.

                                           Jurisdiction and Venue

         8.     Admitted for Jurisdictional purposes only.

         9.     Admitted that Ms. Lorenzo is a Florida resident, for Jurisdictional purposes only.

         10.   Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 10, and therefore denies same and demands strict proof thereof.

                                                  2
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 3 of 21 PageID 192



                                                      Parties

           11.   Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 11, and therefore denies same and demands strict proof

 thereof.

       12.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 12, and therefore denies same and demands strict proof thereof.

           13.   Admitted that Ms. Lorenzo resides in Hillsborough County, Florida, otherwise

 denied.

           14.   Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 14, and therefore denies same and demands strict proof thereof.

                                            General Allegations

           15.   Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 15, and therefore denies same and demands strict proof

 thereof.

           16.   The allegations in Paragraph 16 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 16, and therefore denies same and demands strict proof thereof.

           17.   The allegations in Paragraph 17 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 17, and therefore denies same and demands strict proof thereof.

           18.   Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 18, and therefore denies same and demands strict proof

 thereof.


                                                  3
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 4 of 21 PageID 193



       19.     The allegations in Paragraph 19 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 19, and therefore denies same and demands strict proof thereof.

       20.     Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 20, and therefore denies same and demands strict proof

thereof.

       21.     The allegations in Paragraph 21 pertain to another Defendant. Ms. Lorenzo is without

knowledge or information sufficient to form a belief as to the truth of the allegations in Paragraph

21, and therefore denies same and demands strict proof thereof.

       22.     The allegations in Paragraph 22 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 22, and therefore denies same and demands strict proof thereof.

       23.     The allegations in Paragraph 23 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 23, and therefore denies same and demands strict proof thereof.

       24.     The allegations in Paragraph 24 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 24, and therefore denies same and demands strict proof thereof.

       25.     The allegations in Paragraph 25 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 25, and therefore denies same and demands strict proof thereof.

       26.     Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 26, and therefore denies same and demands strict proof

thereof.
                                                4
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 5 of 21 PageID 194



       27.     Denied.

       28.     The exhibit speaks for itself, otherwise Denied.

       29.     The exhibit speaks for itself, otherwise Denied.

       30.     Denied.

       31.     The allegations in Paragraph 31 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 31, and therefore denies same and demands strict proof thereof.

       32.      The allegations in Paragraph 32 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 32, and therefore denies same and demands strict proof thereof.

       33.     The allegations in Paragraph 33 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 33, and therefore denies same and demands strict proof thereof.

       34.     The allegations in Paragraph 34 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 34, and therefore denies same and demands strict proof thereof.

       35.     Ms. Lorenzo is without knowledge regarding the formation of Caprae, and denies

the allegation set forth in paragraph 35.

       36.      The allegations in Paragraph 36 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 36, and therefore denies same and demands strict proof thereof.

       37.     The allegations in Paragraph 37 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in


                                                5
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 6 of 21 PageID 195



Paragraph 37, and therefore denies same and demands strict proof thereof.

       38.       Denied.

           39.   The allegations in Paragraph 39 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 39, and therefore denies same and demands strict proof thereof.

       40.       The allegations in Paragraph 40 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 40, and therefore denies same and demands strict proof thereof.

       41.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 41, and therefore denies same and demands strict proof

thereof.


       42.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 42, and therefore denies same and demands strict proof

thereof.
       43.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 43, and therefore denies same and demands strict proof

thereof.

       44.       Denied.

       45.       The allegations in Paragraph 45 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 45, and therefore denies same and demands strict proof thereof.

           46.   Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 46, and therefore denies same and demands strict proof


                                                  6
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 7 of 21 PageID 196



thereof.

           47.   The allegations in Paragraph 47 pertain to another Defendant.           Denied that

Defendant, Jaclyn Webb (herein “Ms. Webb”), in May 2023, was soliciting business from Integrity

for Ms. Lorenzo.

       48.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 48, and therefore denies same and demands strict proof

thereof.

       49.       The allegations in Paragraph 49, 49(a) and 49(b) pertain to another Defendant. Ms.

Lorenzo is without knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 49, 49(a) and 49(b), and therefore denies same and demands strict proof

thereof.


       50.       Admitted that the exhibit speaks for itself, otherwise denied.

       51.       Admitted that the exhibit speaks for itself, otherwise denied.

       52.       The allegations in Paragraph 51 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 52, and therefore denies same and demands strict proof thereof.

       53.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 53, and therefore denies same and demands strict proof

thereof.

       54.       The allegations in Paragraph 54 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 54, and therefore denies same and demands strict proof thereof.

       55.       The allegations in Paragraph 55 pertain to another Defendant. Ms. Lorenzo is

                                                  7
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 8 of 21 PageID 197



without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 55, and therefore denies same and demands strict proof thereof.

        56.     The allegations in Paragraph 56 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 56, and therefore denies same and demands strict proof thereof.

        57.     The allegations in Paragraph 57 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 57, and therefore denies same and demands strict proof thereof.

        58.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 58 and therefore denies same and demands strict proof thereof.

        59.     Denied.

                                      First Cause of Action
                               Injunctive Relief Against Defendants

        60.     Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

fully herein.

        61.     Denied. Integrity has not shown a likelihood of success on the merits for an

Injunction because Ms. Lorenzo has committed no wrongdoing. Integrity has not demonstrated,

and it will be unable to demonstrate that Ms. Lorenzo utilized or misappropriated Integrity’s

confidential information or trade secrets for its benefit to compete with Integrity.

        62.     Denied that Integrity will be irreparably harmed if an injunction is not issued. Ms.

Lorenzo has committed no wrongdoing and is not utilizing Integrity’s confidential information or

trade secrets to compete with Integrity.      Ms. Lorenzo does not have access to Integrity’s

confidential information. Therefore, there is nothing to enjoin Ms. Lorenzo from performing or

utilizing.

                                                 8
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 9 of 21 PageID 198



        The remainder of the First Cause of Action of the Verified Complaint contains a prayer for

relief and, as such, requires neither an admission or denial from Ms. Lorenzo. To the extent a

response is required, Ms. Lorenzo denies Integrity is entitled to any of the relief sought in this

litigation.


                                     Second Cause of Action
                        Breach of Termination Agreement against Ms. Webb

        63.      Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set

forth fully herein.

           64.   The allegations in Paragraph 64 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 64, and therefore denies same and demands strict proof thereof.

        65.      Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 65, and therefore denies same and demands strict proof

thereof.

        66.      The allegations in Paragraph 66 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 66, and therefore denies same and demands strict proof thereof.

           67.   The allegations in Paragraph 67 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 67, and therefore denies same and demands strict proof thereof.

        68.      The allegations in Paragraph 64 pertain to another Defendant. Ms. Lorenzo is

without knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 68, and therefore denies same and demands strict proof thereof.

        69.      Denied.
                                                  9
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 10 of 21 PageID 199




                                     Third Cause of Action
                      Breach of Confidentiality Agreement Against Ms. Webb

        70.      Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

        71.      The allegations in Paragraph 64 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 71, and therefore denies same and demands strict proof thereof.

        72.      The allegations in Paragraph 72 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 72, and therefore denies same and demands strict proof thereof.

        73.      The allegations in Paragraph 73 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 73, and therefore denies same and demands strict proof thereof.

        74.      The allegations in Paragraph 74 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 74, and therefore denies same and demands strict proof thereof.The allegations in

 Paragraph 75 pertain to another Defendant. Ms. Lorenzo is without knowledge or information

 sufficient to form a belief as to the truth of the allegations in Paragraph 75, and therefore denies

 same and demands strict proof thereof.

        75.      The allegations in Paragraph 76 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 76, and therefore denies same and demands strict proof thereof.



                                                  10
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 11 of 21 PageID 200



                                   Fourth Cause of Action
        Quantum Meruit / Unjust Enrichment / Implied in Law Contract Against Ms. Webb

         76.     Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set

 forth fully herein.

         77.     The allegations in Paragraph 78 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 78, and therefore denies same and demands strict proof thereof.


         78.     The allegations in Paragraph 79 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 79, and therefore denies same and demands strict proof thereof.

         79.     The allegations in Paragraph 80 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 80, and therefore denies same and demands strict proof thereof.



                                       Fifth Cause of Action
                            Breach of Fiduciary Duty Against Ms. Webb

         80.     Ms. Lorenso adopts and reasserts her responses t o paragraphs 1-59 as if set

 forth fully herein.

        81.    The allegations in Paragraph 82 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 82, and therefore denies same and demands strict proof thereof.


        82.    The allegations in Paragraph 83 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 83, and therefore denies same and demands strict proof thereof.
                                                 11
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 12 of 21 PageID 201



                                        Sixth Cause of Action
              Tortious Interference with Existing and Prospective Business Relationships

        83.       Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

        84.       To the extent Integrity suggests that matters concerning the Bank of Orrick

 constitute confidential information, that suggestion is denied. To the extent that Integrity suggests

 that they had a business relationship with the Bank of Orrick, that suggestion is denied. Ms.

 Lorenzo is without knowledge or information sufficient to form a belief as to the truth of any

 remaining allegations in Paragraph 85 and therefore denies same and demands strict proof thereof.

        85.       To the extent Integrity suggests that matters concerning the Bank of Orrick

 constitute confidential information, that suggestion is denied. To the extent that Integrity suggests

 that they had a business relationship with the Bank of Orrick, that suggestion is denied. Ms.

 Lorenzo is without knowledge or information sufficient to form a belief as to the truth of the any

 remaining allegations in Paragraph 86 and therefore denies same and demands strict proof thereof.

        86.       Denied.

        87.       Denied.


                                       Seventh Cause of Action
                                          Unfair Competition

        88.       Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

        89.       Denied.
        90.       Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 91 and therefore denies same and demands strict proof thereof.

        91.      The allegations in Paragraph 92 pertain to another Defendant. Ms. Lorenzo is

 without knowledge or information sufficient to form a belief as to the truth of the allegations in
                                                 12
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 13 of 21 PageID 202



 Paragraph 92, and therefore denies same and demands strict proof thereof.


        92.      Denied.


                                    Eighth Cause of Action
        Misappropriation of Trade Secrets Pursuant to Defend Trade Secrets Act, 18 U.S.C.
                                  § 1836(b) Against Ms. Webb

        93.      Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

        94.      This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 95 and

 therefore denies same and demands strict proof thereof.

        95.      This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 96 and

 therefore denies same and demands strict proof thereof.

        96.      This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 97 and

 therefore denies same and demands strict proof thereof.

        97.      This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 98 and

 therefore denies same and demands strict proof thereof.

        98.      This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 99 and

 therefore denies same and demands strict proof thereof.

        99.       This Count is alleged against another Defendant. The allegations in Paragraph 100

 pertain to another Defendant. Ms. Lorenzo is without knowledge or information sufficient to form
                                               13
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 14 of 21 PageID 203



 a belief as to the truth of the allegations in Paragraph 100, and therefore denies same and demands

 strict proof thereof.

         100. This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 101 and

 therefore denies same and demands strict proof thereof.

         101. This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 102 and

 therefore denies same and demands strict proof thereof.

         102.    Denied.

         103. This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 104 and

 therefore denies same and demands strict proof thereof.



                                      Ninth Cause of Action
         Misappropriation Pursuant to Florida Uniform Trade Secrets Act, Fla. Stat. Ch. 688

         104. Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

         105. Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 106 and therefore denies same and demands strict proof

 thereof.

         106. To the extent Integrity suggests it is the sole owner of confidential information

 pertaining to the Bank of Orrick, that suggestion is denied. Ms. Lorenzo is without knowledge or

 information sufficient to form a belief as to the truth of the any remaining allegations in Paragraph

 107 and therefore denies same and demands strict proof thereof.

                                                  14
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 15 of 21 PageID 204



        107. Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 108 and therefore denies same and demands strict proof

 thereof.

        108. Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 109 and therefore denies same and demands strict proof

 thereof.

        109. Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 110, and therefore denies same and demands strict proof

 thereof.

        110. Ms. Lorenzo is without knowledge or information sufficient to form a belief as to the

 truth of the allegations in Paragraph 111, and therefore denies same and demands strict proof

 thereof.

        111.     Denied.

        112. To the extent Integrity suggests that matters concerning the Bank of Orrick

 constitute confidential information, that suggestion is denied. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the any remaining allegations in

 Paragraph 113 and therefore denies same and demands strict proof thereof.

        113. Denied.

        114. Denied.


                                    Tenth Cause of Action
                  Violation of Computer Fraud and Abuse Act Against Ms. Webb

        115. Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

        116. This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge
                                               15
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 16 of 21 PageID 205



 or information sufficient to form a belief as to the truth of the allegations in Paragraph 117 and

 therefore denies same and demands strict proof thereof.

         117. This Count is alleged against another Defendant. Ms. Lorenzo Defendant is without

 knowledge or information sufficient to form a belief as to the truth of the allegations in Paragraph

 118 and therefore denies same and demands strict proof thereof.

         118. This Count is alleged against another Defendant. Ms. Lorenzo is without knowledge

 or information sufficient to form a belief as to the truth of the allegations in Paragraph 119 and

 therefore denies same and demands strict proof thereof.

         119. Denied.

                                      Eleventh Cause of Action
                   Violation of the Florida Computer Abuse and Data Recovery Act

         120.    Ms. Lorenzo adopts and reasserts her responses to paragraphs 1-59 as if set forth

 fully herein.

         121. Denied.

         122.    Denied.


                                        Twelfth Cause of Action
                                              Conspiracy

         123. Denied.

         124. Denied.

         125. Denied.

         The remainder of the Verified Complaint contains a prayer for relief and, as such, requires

 neither an admission or denial from Defendant. To the extent a response is required, Defendant

 denies Integrity is entitled to any of the relief sought in this litigation.



                                                    16
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 17 of 21 PageID 206



                                        Demand For Jury Trial

         Ms. Lorenzo requests a trial by jury on all issues so triable.

                                         Affirmative Defenses

         Defendant, by and through undersigned counsel, asserts the claims alleged in the Verified

 Complaint are barred, in whole or in part, by the following affirmative defenses.

                                     First Affirmative Defense

         Integrity’s Verified Complaint and its purported causes of action fail to state sufficient

 facts to adequately plead a cause of action against Ms. Lorenzo.

                                   Second Affirmative Defense

         Integrity’s Verified Complaint and its purported causes of action fail to meet the pleading

 requirements of Federal Rules of Civil Procedure 8(a) and 9(b).

                                    Third Affirmative Defense

         Integrity’s claims are barred, in whole or in part, because it cannot demonstrate a likelihood

 of success on the merits or that it suffered irreparable harm showing it is entitled to injunctive relief

 against Ms. Lorenzo. Integrity has not alleged sufficient facts demonstrating Ms. Webb disclosed

 confidential information to Ms. Lorenzo or caused a loss of Integrity’s business that are at the root

 of Integrity’s claim for injunctive relief. Ms. Lorenzo acted at all relevant times in good faith and

 not with any improper purpose, intent, or knowledge to cause Integrity’s economic loss or

 otherwise. In the alternative, to the extent Integrity suffered any economic loss, Integrity has an

 adequate remedy at law.

                                   Fourth Affirmative Defense

       Integrity’s claims are brought in bad faith and for the purposes of harassment of Defendant, Ms.

Lorenzo.


                                                   17
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 18 of 21 PageID 207



                                    Fifth Affirmative Defense


        Integrity did not and does not have a business relationship with Bank of Orrick.

                                    Sixth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, by the doctrines of waiver, ratification

 and/or estoppel.

                                  Seventh Affirmative Defense

         Integrity’s claims are barred, in whole or in part, by the doctrine of unclean hands and/or

 Integrity’s own wrongful conduct.

                                   Eighth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, by Integrity’s breaches of the implied

 covenant of good faith and fair dealing.

                                   Ninth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, because Integrity will be unjustly enriched

 if awarded injunctive relief.



                                    Tenth Affirmative Defense
         Integrity’s claims are barred, in whole or in part, because Ms. Lorenzo acted in good faith

 and without an improper purpose regarding any business dealings with Integrity.


                                 Eleventh Affirmative Defense

       Integrity’s claims are barred, in whole or in part, because Integrity has not set forth the

requisite cause of action for an Unfair Competition claim and it is also duplicative of its tortious

interference claim




                                                   18
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 19 of 21 PageID 208



                                  Twelfth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, because Defendants did not

 misappropriate trades secret as required under the Defend Trade Secrets Act 18 U.S.C. §§ 1836 et

 seq. or acquire trade secrets by improper means and/or did not misappropriate or disclose trade

 secrets as required under Florida’s Uniform Trade Secrets Act, Fla. Stat. §§ 688 et seq.

                                Thirteenth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, because Integrity has acted in bad faith in

 bringing this lawsuit including, but not limited to, 18 U.S.C. § 1836(b)(3)(D) and Fla. Stat. §

 688.005.

                                Fourteenth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, because it has not set forth the requisite

 cause of action under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 or Florida’s Computer

 Abuse and Data Recovery Act, Fla. Stat. §§ 668.801 et seq.

                                 Fifteenth Affirmative Defense

         Integrity’s claims are barred, in whole or in part, because Defendants did not conspire to

 misappropriate Plaintiff’s confidential information or trade secrets.

                                 Sixteenth Affirmative Defense

         Integrity’s claims for tortious interference with existing and prospective business

 relationships, and conspiracy are preempted because the allegations of those claims form the basis

 for its claim of misappropriation of trade secrets pursuant to Florida’s Uniform Trade Secrets Act,

 Fla. Stat. § 688 et. seq.

                               Seventeenth Affirmative Defense

         Integrity is not entitled to damages or remedies sought herein.


                                                   19
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 20 of 21 PageID 209



                                Eighteenth Affirmative Defense

         Integrity’s claims for damages and relief are barred because they are speculative.

                                Nineteenth Affirmative Defense

         Defendants preserve and assert all affirmative defenses available under any applicable law.

 Defendants presently have insufficient knowledge or information upon which to form a belief as

 to whether they may have other, as yet unstated defenses available. Therefore, Defendant reserves

 the right to supplement this Answer and to assert additional defenses in the event that discovery or

 other means indicate they would be appropriate.


         WHEREFORE, Defendants deny Plaintiff is entitled to any relief whatsoever. Defendants

 further request that this Court enter judgment in their favor and against the Plaintiff as follows:

         A. That Plaintiff’s request for a Preliminary Injunction be denied.

         B. That Plaintiff takes nothing by reason of the Verified Complaint and that judgment be

 tendered in favor of Defendants.

         C. That Defendants be awarded costs of suit incurred including reasonable attorneys’ fees

 pursuant to 18 U.S.C. § 1836(b)(3)(D), Fla. Stat. §§ 668.804(2), 688.005 and;

         D. For such other relief as this Court deems just and proper.

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of November, 2023, a true and correct copy of the

foregoing has been furnished via mail or filed electronically via CM/ECF to all counsels of record to

the following parties:

Scott A. Livingston, Esquire
Private Corporate Counsel
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                                                  20
Case 8:23-cv-01856-TPB-NHA Document 21 Filed 11/10/23 Page 21 of 21 PageID 210



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                                         WETHERINGTON HAMILTON, PA

                                                /s/ Kalei McElroy Blair
                                         By: _____________________________
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                                            21
